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 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
                                                                    :
                                                                    :
 -------------------------------------------------------------------x

                   NOTICE OF ADJOURNMENT OF DEBTORS’ OBJECTION
                   TO CERTAIN CLAIMS (VALUED DERIVATIVE CLAIMS)
                    AS TO EASTON INVESTMENTS II, A CALIFORNIA L.P.

                  PLEASE TAKE NOTICE that the hearing on Debtors’ Eighty-Fourth Omnibus

 Objection to Claims (Valued Derivative Claims) (the “Objection”), that was scheduled for March

 3, 2011, at 10:00 a.m. (Prevailing Eastern Time), and that was previously adjourned as to certain

 Valued Derivative Claims to October 27, 2011 at 10:00 a.m. (Prevailing Eastern Time), has been

 further adjourned, solely with respect to the claims listed on Exhibit A annexed hereto, to

 November 30, 2011, at 10:00 a.m. (Prevailing Eastern Time) (the “Hearing”), or as soon

 thereafter as counsel may be heard. The Hearing will be held before the Honorable James M.

 Peck, United States Bankruptcy Court, Alexander Hamilton Custom House, One Bowling Green,

 New York, New York, Room 601, and such Hearing may be further adjourned from time to time

 without further notice other than an announcement at the Hearing.
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 Dated: October 24, 2011
        New York, New York

                                        /s/ Robert J. Lemons
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                                             Exhibit A

                                       Adjourned Claims:

                      Claimant Name                             Claim Number
  Easton Investments II, a California L.P.                          10717




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